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EXHIBIT C

Case: 5:22-cv-01454-CEH Doc #: 32-3 Filed: 03/29/24 2 of 4. PagelD #: 226

HA4:2025 Canal - Order #4247 confaned
y ’ q
d Gmail Karl Forsell <iforce@ymail.con>
Order #41247 confirmed
1 message
FPGA Land <sales@{ngaJand> 6 June 2018 al 16:33

To: frst@firnl. nel

FPGA Land ORDER #1247

Thank you for your purchase!

Hi Carl, we're galling your order ready lo be shipped, We will notify you when It
has bean sant.

or Visit our slore

Ordey summary

YCU1625 ~ Blockchaln Edition (With Mods &
RAM) x 70 $36,006.00
UGE

Subtotal $36,000,00
Shipping $224.06
Total $36,224,06 USD
Colnbase commerce $36,224.06

Customer information

Shipping address Billing address

Cari Forsell Carl Forselt

Nonce Ple Lld Nonce Pte Lid

& St Martin's Dr 8 S1 Martin's Dr

#03-21 St Marlin Residence #03-21 Si Martin Residence

Singapore 268005 Singapore 268008

Singapore Singapore

Shipping method Payment method

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Worldwide Coinbase commerce — $36,224.06 4

Ht you have any queslions, reply 16 this email or contact 5 al sales@{ipgatand

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fyi Gmail Kart Forsell <fforec@gntall.com>

You Just sent 60.46133625 ETH to
OxdOef870d238aA4B78cEcé4Cdd0610B2275734B28

f message

Colnbase <no-reply@colnbasa,com>
To: frsk@itmi.nat

8 dune 2048 al 46:32

You just sent
60.46 123625 ETH ($36,226.11 USD}

Congratalallonst You have successfully sent 60,46 133625 ETH to
Oxd0ef870d238aA4B78cke64Cdd06 1082275734828, You can view transaction details In
your Colnbase account, To facititale lhis transaction, you paid 0,000165 ETH ($0.06 USD}

in nelvork fees,

This withdrawal is belng sent fo an address ("Oxd0el870d248aA4B78cEcédCdd06 1
062276734820") thal you havent previously used,

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| wish to disable sign-in for my Colabase account

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